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Atturnays and L'nurlse|or's
8750 N. CENTRAL EXPRESSWAY, SUlTE 1850 (214) 346~2630 MAIN
DALLAS, TEX.»'\.S 75231 ` t (214) 346-2631 FAX

 

 

 

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Our File No.: 264.0057

RE: Case No.: 4:15-GV-00373-ALM-KP.T; J£mtes T. Miller.fr. v. P()rlj"oh'o Rec:overy
A.S'socr`ates, LLC;, in the U.S. District Court for the Eastern Distrlct of Texas

DFFER DF JUDGMENT

 

 

 

 

 

Date: Oetobc1‘4, 2016 Time: 5“'55%;

Dennis Dean MCCHH.V Fax #: 817-887-5069

TO_ MeCaity Law Fii-m

` P.O. Box 111070

Cal.l.nlltonl Texas 75011 Phcme! 317-704-3375
Kimberly MeKinnon Phone: 214-346-2630 ext. 2633

Fl'oln: on Behalf of Robbie Malone

Fax #: 214-346-2631

 

 

 

 

 

 

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Message: CMRRR 7015 0640 0002 6163 8458 Good Day Counselor _ Thank you for your time
and attention. Please contact our office if you need additional assistancel Regards n+Kini`t)erly

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MALONE ' A_KERLY * MARTIN

 

Kimbel'ly MCKiI'mOI'l, l.ega] Seot‘etary A Professional Lirnited Liabi[ity Company

Direct Diol 214'346'2633 Al'torneys and Counselors

kmckinnon@mamlaw.Com _ Northparl< Cen|:ral, Suite 1350

Main 214-346' 2630 8750 N. Cent'ral Expressway

Fax 214*346* 2631 D€\lle\s, TX 75231
**ANNO UNCE'MENT**

Pl'ecrse nofefor yom‘fz.'lz.'re cori'e.s'pandence, we are happy to infor.'n you that
Ow'Nrm name has changed - Ej”ective as cfSeptember ]2, 201 6 *

Octobe1'4, 2016
CMRRR 7015 0640 00[}2 6163 8458 CMRRR 7014 2120 0000 7018 5095
Dennis Dean McCarty Jonathan Forrest Raburn
l\/lcCarty Law Firm The Raburn Law Firm, LLC
P.O. Bo)t 1110?0 ` 301 N. Main Street, Suite 2200
Carrollton, Texas 75011 Baton Rouge, LA 70825
P: 817-704-3375 |F: 817-837-5069 P: 318-918-1968 | F: 318-230-7036
Dmccarty|.aw(c`¢latt.net `|onathan(d§geauxlaw.com '

R_E: Case No.; 4:15-cV-00878-RC-DDB; James T. Miller .lr. v. Portfolio Recovery
ASSociateS, LLC; in the U.S. District Court for the Eastern District of Te)tas

Dear Counselors:

Enclosed please find Defendant’s Offer of Judgrnent in reference to the above-referenced
matter.
Thank you for your time and attention. Please do not hesitate to contact our office if you

have questions or need additional information

Sincerely,
Kimberly MoKinnon
Legal Secretary
\l<mck
Enclosure

M:\264.0DOO Pont`e|io Recovery Associates, L.L.C\264.0057 lan-ics Millcr v. PRA\CORRESPONDENCE\ZG¢LOO57L_Pt]1 Of`fer of
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IN THE UNITED STATES DISTRICT CC)URT
FOR THE EASTERN DISTR_ICT DF TEXAS

JAMES MILLER §
ricaner §
§

V. § CASE NO. 4;15-CV-00373~ALM-KPJ
§
§
PGRTFOLIO RECOVERY ASSOCIATES, §
LLC §
Defendctnt. §

OFFER OF .]UDGMENT

 

TO: PLAINTIFF ABOVE-NAMED, by and throuin his Attorneys,

Dennis Dean McCarty Jonathan Forrest Raburn

McCarty LaW Firm The Raburn Law Firm, LLC

P.O. Box 111070 301 N. Main Street, Suite 2200
Carrollton, Texas 75011 Baton Rouge, LA 70825

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Dmccartylaw&i)att.net lgonathan(d,!]lgeauotlaw.com

Pursuant to Rule 63 of the Federal Rules of Civil Procedure, Defendant Portfolio
Recovery Associates, LLC (“PRA”) hereby offers to allow judgment to be taken against PR_A
and in favor of Plaintiff, individually, as follows:

l) ludgment shall be entered against PRA in the amount of One Thousand and One
Dollars ($1,001.00), plus reasonable attorney’s fees and taxable costs incurred in this aotion,
such fees and costs to be determined by agreement of the parties and if the parties cannot agree,
by the Court upon motion by Plaintiff;

2) The judgment entered in accordance with this C)ffer of Judgment is to be in total
settlement of any and all claims by Plaintiff against PRA.

3) This Offel' of Judgment is made solely for the purposes specified in Rule 68, and

is not to be construed either as an admission that PRA is liable in this action, or that Plaintiff has

OFFER OF JUDGMENT-4:15-cv-00878-/\LM-KPJ y Page l 01’2
M:\264.0000 Porlfo|io Recovery Associates, L.L,C\264.0t157 Ja:nes Millcr v. PRA\PLEADINGS\Mi|Ier OOJ_doc)i

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suffered any damage.

Respeetfully submitted,
MALoNE AKERLY MART\N PLLC

MLM

Eugene Xerxes Martin, IV

State Bar No. 2407892

Email: rmalone(c_?hnamlaw.com
MALUNE AKERLY MARTIN PLLC
Northparlc Central, Suite 1850

8750 North Central Expressway
Dallas, Texas 75231

P: 214-346-2630 | F: 214-346-2631
COUNSEL FOR PORTFOLIO RECOVERY
ASSOC]ATE.S', LLC

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document has been
forwarded via CMRRR and facsimile on this 4'“ day of October, 2016 to:

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McCarty LaW Firm

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Can'ollton, Texas 75011

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OFFER OF JUDGMENT - 4:15-cv-00878-ALM-KPJ

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jonathan({i)geaus.law.com

/s/ Xerxes Martin
EUGENE XERXES MARTIN, IV

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